Case 2:19-cr-00595-CAS Document 39 Filed 09/03/20 Page 1of1 Page ID #:210
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

UNITED STATES OF AMERICA, CASE NUMBER
y ELATNEIER 2:19-cr-00595-CAS-1
Edward Buck
APPLICATION FOR
REVIEW/RECONSIDERATION OF ORDER
SETTING CONDITIONS OF
oprEEEee RELEASE/DETENTION

 

(18 U.S.C. §3142) AND REQUEST FOR HEARING

Application is made by U1 plaintiff W defendant Edward Buck
that a hearing be held to review /reconsider the decision of

C1 United States District Judge by order dated:

 

( Magistrate Judge Patrick J. Walsh by order dated: September 26, 2019

y denying release and imposing detention under subsection LI (d) or M(e) of Title 18 U.S.C. §3142; or
O ordering release upon certain conditions, or
[] denying detention.

This application is made © pre-sentence CO post-sentence based on the following facts not previously considered by

said judicial officer or changed circumstances as follows:
Covid-19 pandemic conditions

Relief sought (be specific):
Release on $400,000 signature bond
Defense Counsel is requesting that this application be set for hearing on 09/04/20.

Counsel for the defendant and plaintiff United States Government consulted on September 03, 2020
and opposing counsel declines to stipulate to an order providing the relief sought.

w Telephonic notice given to (YAUSA (Defendant’s Counsel OPSA O Interpreter (1 USM O Probation
on September 03, 2020 .

 

An interpreter is_ 1 required © not required. Language

 

Defendant is WM in custody ( not in custody.

09/03/20 FEW

Date Moving Party

 

APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
RELEASE/DETENTION, (18 U.S.C. §3142) AND REQUEST FOR HEARING
CR-88 (06/07)
